AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                       MIDDLE District of TENNESSEE
                                                      )
               UNITED STATES OF AMERICA               )    JUDGMENT IN A CRIMINAL CASE
                          v.                          )
                                                      )
                                                      )    Case Number:         3:22-cr-185
                    ANTONIO NEELY                     )    USM Number:          45405-510
                                                      )
                                                      )    Caryll Alpert
                                                      )    Defendant’s Attorney
THE DEFENDANT:
X   pleaded guilty to count(s)      1 & 2 of the Indictment.

    pleaded nolo contendere to count(s)
    which was accepted by the court.
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended              Count
18 U.S.C.§922(o)                  Possession of a Machine Gun                                           2/7/2022                     1

26 U.S.C.§584(a)                  Possession of a Non-Registered Firearm                                2/7/2022                     2



       The defendant is sentenced as provided in pages 2 through             7         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

    The defendant has been found not guilty on count(s)

    Count(s)                                               is       are dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      June 18, 2024
                                                                      Date of Imposition of Judgment




                                                                      Signature of Judge




                                                                      ALETA A. TRAUGER, UNITED STATES DISTRICT JUDGE
                                                                      Name and Title of Judge


                                                                      June 27, 2024
                                                                      Date




                  Case 3:22-cr-00185                 Document 37       Filed 06/27/24            Page 1 of 7 PageID #: 86
AO 245B (Rev. 09/19)   Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                     Judgment — Page      2       of   7
 DEFENDANT:                  ANTONIO NEELY
 CASE NUMBER:                3:22-cr-185


                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 30 months as to each of Counts 1 and 2 to run concurrently with each other and to run concurrently with any state time to be
 imposed on the pending state charges.




      X   The court makes the following recommendations to the Bureau of Prisons:
          1. That defendant receive substance abuse treatment.
          2. That defendant receive mental health treatment.
          3. That defendant receive vocational training.

      X The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
              at                                     a.m.          p.m.       on                                              .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                            .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                 , with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL




                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                      Judgment—Page     3      of        7
DEFENDANT:                 ANTONIO NEELY
CASE NUMBER:               3:22-cr-185
                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
3 years as to each of Counts 1 and 2 to run concurrently with each other.




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    X    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.


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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                             Judgment—Page       4        of         7
DEFENDANT:                   ANTONIO NEELY
CASE NUMBER:                 3:22-cr-185

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
    within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
    to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                 Date




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
                                                                                                               Judgment—Page        5      of         7
DEFENDANT:                ANTONIO NEELY
CASE NUMBER:              3:22-cr-185

                                        SPECIAL CONDITIONS OF SUPERVISION

1.       You shall participate in a program of drug testing and substance abuse treatment which may include a 30-day inpatient treatment
         program followed by up to 90 days in a community correction center at the direction of the United States Probation Office. You
         shall pay all or part of the cost for substance abuse treatment if the United States Probation Office determines you have the
         financial ability to do so or has appropriate insurance coverage to pay for such treatment.

2.       You shall promptly advise the United States Probation Office of the name and contact information for any physician who
         prescribes any controlled substance and agrees to execute a release of information form so that medical records may be obtained
         from such physician.

3.       You must not use or possess any controlled substances without a valid prescription. If you do have a valid prescription, you must disclose the
         prescription information to the probation officer and follow the instructions on the prescription.

4.       You shall furnish all financial records, including, without limitation, earnings records and tax returns, to the United States Probation Office
         upon request.

5.       You shall be required to participate in an adult education program and prove consistent effort, as determined by the United
         States Probation Office, toward obtaining a General Equivalency Diploma (GED).

6.       You shall participate in a cognitive behavioral therapy (CBT) program as directed by the United States Probation Office. You
         shall pay all or part of the cost for CBT if the United States Probation Office determines you have the financial ability to do so
         or has appropriate insurance coverage to pay for such treatment.




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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                   Judgment — Page   6         of        7
 DEFENDANT:                       ANTONIO NEELY
 CASE NUMBER:                     3:22-cr-185
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                  Restitution            Fine                    AVAA Assessment*               JVTA Assessment**
 TOTALS          $ 200                     $                      $                       $                              $


      The determination of restitution is deferred until               . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
     paid before the United States is paid.

 Name of Payee                              Total Loss***                    Restitution Ordered                     Priority or Percentage




 TOTALS                              $                                   $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
            the interest requirement is waived for             fin         restitution.
            the                                                e
            the interest requirement for           fine           restitution is modified as follows:
            the
 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.

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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 — Schedule of Payments
                                                                                                             Judgment — Page        7      of           7
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                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    X    Lump sum payment of $ 200                           due immediately, balance due (special assessment)

                not later than                                      , or
                in accordance with           C          D,           E, or          F below; or

 B         Payment to begin immediately (may be combined with                  C,           D, or         F below); or

 C         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                          (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                        Joint and Several                 Corresponding Payee,
      (including defendant number)                           Total Amount                          Amount                           if appropriate




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant’s interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
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